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       SDUWLHVZLOOQRWEHGHHPHGWRKDYHZDLYHGDQ\ULJKWWRVHHNUHPDQGE\IDLOLQJWRPRYHIRU

       UHPDQGLQWKHWUDQVIHURUFRXUWRUE\DJUHHLQJQRWWRRSSRVHD&RQGLWLRQDO7UDQVIHU2UGHU

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